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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA

v.
1:22cr120 (LMB)
KYLE WILLIAM LEISHEAR,

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Defendant.
ORDER

On July 22, 2022, an Order Revoking Order of Release and Detaining Defendant Pending
Trial was entered, ordering that defendant Kyle William Leishear be “detained pending transport
to this District for further proceedings and/or until trial.” [Dkt. No. 13]. As of this date, Mr.
Leishear has not appeared in this court. Accordingly, it is hereby

ORDERED that no later than 5:00 pm on Tuesday, September 20, 2022 the government
file a notice regarding Mr. Leishear’s location and explaining why he has not yet been brought to
this district.

The Clerk is directed to forward copies of this Order to counsel of record and the United
States Marshals Service.

Entered this ign ty of September, 2022.

Alexandria, Virginia

Leonie M. Brinkeina
United States District Judge

